                         UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF PENNSYLVANIA
In re:

                                                                       Chapter: 13
   William T Posa,
   aka Bill Posa,                                                      Case number: 5:19−bk−03815−MJC

                     Debtor 1                                          Document Number: 83

   Donna M Posa,                                                       Matter: Motion for Sale Free and Clear of
                                                                       Liens
                     Debtor 2




   WILLIAM T. POSA and
   DONNA M. POSA,
   Movant(s)

   vs.

   MONROE COUNTY TAX CLAIM BUREAU,
   DAVID L. SLOTZFUS, :
   JENNIFER ERLER−CILENTO, as Administrator
   to the Estate of John K. Erler,
   and
   JACK N. ZAHAROPOULOS, Trustee
   Respondent(s)



                                                        Order


   Unless earlier served through CM/ECF, IT IS ORDERED that service of this Order and the above−referenced
Motion shall be made by the moving party on all respondent(s) named in the Motion claiming an interest in the
property, counsel, and in a Chapter 11 case service shall also be made upon the Trustee, if any, U.S. Trustee and the
individuals identified in F.R.B.P. 4001(a)(1) and L.B.R 4001−6. Service shall be made within seven (7) days from
the date hereof and certification of service filed with this Court within fourteen (14) days from the date hereof.

   IT IS FURTHER ORDERED that answers to the Motion must be served on the moving party and a copy filed
with this Court, within fourteen (14) days from the service date of this Order. If no Response is filed, relief may be
granted. A hearing will be held if a responsive pleading is timely filed, requested by the moving party, or ordered by
the Court. If a default order has not been signed and entered, the parties or their counsel are required to appear in
Court at the hearing on the below date and time.

                  United States Bankruptcy Court             Date: 2/23/23
                  Max Rosenn US Courthouse, Courtroom 2, 197
                  South Main Street, Wilkes−Barre, PA 18701  Time: 10:00 AM


                                                            By the Court,




                                                            Mark J. Conway, United States Bankruptcy Judge


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                                                                                     Dated: January 20, 2023


Initial requests for a continuance of hearing ( L.B.F. 9013−4, Request to Continue Hearing/Trial with Concurrence) shall be filed with the Court. Requests received by
the Court within twenty−four (24) hours of the hearing will not be considered except in emergency situations. Additional requests for continuance must be filed as a
Motion.

Requests to participate in a hearing remotely shall be made in accordance with L.B.R. 9074−1.

Electronic equipment, including cell phones, pagers, laptops, etc., will be inspected upon entering the Courthouse. These devices may be used in common areas and
should be turned to silent operation upon entering the Courtroom and Chambers.

Photo identification is required upon entering the Courthouse.
orreshrg(5/18)




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